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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF FLORIDA


  JOHN DOE,                                               Case No. 6:18-cv-01069-RBD-KRS

  Plaintiff,                                              Judge: Dalton, Jr.

  v.                                                       PLAINTIFF’S MOTION FOR A
                                                           PRELIMINARY INJUNCTIONS
  ROLLINS COLLEGE

  Defendants



         Plaintiff John Doe respectfully submits this Motion for a Preliminary Injunction. Plaintiff

 seeks an Order prohibiting Defendant from imposing and reporting any disciplinary sanctions against

 Plaintiff related to the alleged sexual misconduct described in this Complaint. This Motion is

 accompanied by the Affidavit of John Doe.

                                                  FACTS

         The Court is familiar with the acts of this case, having ruled on the Cross-Motions for

 Summary Judgment. (Doc#117.)

                                              ARGUMENT

 A.      The Standard For Resolution Of This Motion

         To justify a preliminary injunction the movant must demonstrate: (1) a substantial likelihood

 of success on the merits; (2) irreparable injury will be suffered unless the injunction issues; (3) the

 threatened injury to the movant outweighs whatever damage the proposed injunction may cause the

 opposing party; and (4) if issued, the injunction would not be adverse to the public interest. Clewiston

 Commons Ltd. Liab. Co. v. City of Clewiston, M.D.Fla. No. 2:18-cv-339, 2019 U.S. Dist. LEXIS 19923, at

 *7 (Feb. 7, 2019), quoting Siegel v. LePore, 234 F.3d 1163, 1176 (11th Cir. 2000).




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 B.      Reason This Motion Is Brought Now

         Two things have changed.

         First, the Court granted Plaintiff’s Motion for Partial Summary Judgment on an aspect of his

 breach of contract claim. (See Doc.#117.) This changes the calculus on the “substantial likelihood of

 success on the merits” portion of the preliminary injunction test.

         Second, Plaintiff intended to seek permanent injunctive relief following success at an April

 trial.1 This is the relief granted by other courts after finding a breach of contract in a sexual misconduct

 investigation. In Doe v. Brown Univ., 210 F. Supp. 3d 310 (D.R.I. 2016), following an expedited

 consolidated bench trial on both the merits and request for a preliminary injunction, the court

 concluded that the school breached its contract with a student by the manner in which it conducted

 his disciplinary hearing on an allegation of sexual misconduct. The court ordered the school to vacate

 its finding and sanction against the student and expunge his record. 210 F. Supp. 3d at 346.

         Plaintiff is seeking preliminary relief now because the trial was continued dur to Covid-19 and

 a date for resumption of normal court and business activities remains uncertain. As a result, Plaintiff

 may not be able to obtain permanent injunctive relief in a timely manner and, as a result, may be

 prejudiced in his ability to apply to graduate programs. (See Affidavit of John Doe ¶3.)

 B.      Recent Cases Granting Preliminary Injunctions To Students

         Federal courts have granted preliminary injunctive relief prohibiting private universities from

 implementing discipline against students accused of sexual misconduct where the student raised

 significant breach of contract claims. See e.g Doe v. Univ. of Notre Dame, N.D.Ind. No. 3:17CV298, 2017

 U.S. Dist. LEXIS 69645 (May 8, 2017) (court concluded that a student facing discipline for an



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  This is permitted by Florida law for breach of contract claims. Inter-Active Servs. v. Heathrow Master
 Assn., 721 So.2d 433, 436 (Fla.App. 1998); Davis v. Tampa Bay Arena, Ltd., M.D.Fla. No. 8:12-cv-60,
 2012 U.S. Dist. LEXIS 80418, at *14 (June 11, 2012).

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 allegation of sexual misconduct has demonstrated “at least some likelihood of success on the merits

 of his breach of contract claim and of irreparable harm”); Doe v. Middlebury College, D.Vt. No. 1:15-cv-

 192-jgm, 2015 U.S. Dist. LEXIS 124540 (Sep. 16, 2015) (court found that a student accused of sexual

 misconduct had “demonstrated a sufficiently serious question regarding whether [the school] violated

 its policies”); King v. DePauw Univ., No. 2:14-cv-70, 2014 U.S. Dist. LEXIS 117075 (S.D. Ind. Aug. 22,

 2014) (court found that a student accused of sexual misconduct had demonstrated likely success on

 breach of contract claims against the school).

           Courts have similarly granted injunctive relief against public colleges and universities, finding

 that students faced irreparable harm from the imposition of school discipline. See e.g. Doe v. Rector &

 Visitors, W.D.Va. Civil Action No. 3:19CV00038, 2019 U.S. Dist. LEXIS 108990 (June 28, 2019)

 (granting a preliminary injunction prohibiting a public university from proceeding with a disciplinary

 hearing after concluding that the student had demonstrated a likelihood of success on the merits of

 his procedural due process claim); Doe v. Univ. of Michigan, 325 F. Supp. 3d 821, 826 (E.D.Mich. 2018)

 (granting preliminary injunction prohibiting a public university from continuing with an

 unconstitutional disciplinary process); Nokes v. Miami Univ., S.D.Ohio No. 1:17-cv-482, 2017 U.S. Dist.

 LEXIS 136880 (Aug. 25, 2017) (granting preliminary injunction prohibiting a public university from

 suspending a student); Ritter v. Oklahoma, W.D.Okla. No. CIV-16-043 8-HE, 2016 U.S. Dist. LEXIS

 60193 (May 6, 2016) (ordering school to stay any discipline and to permitting student to complete all

 remaining graduation requirements); Doe v. Pennsylvania State Univ., M.D.Pa. No. 17-CV-01315, 2017

 U.S. Dist. LEXIS 132186 (Aug. 18, 2017) (granting preliminary injunction to student who had alleged

 that a school acted in violation of his due process right to confrontation in disciplinary proceedings);

 Doe v. University of Cincinnati, 223 F. Supp. 3d 704 (S.D. Ohio 2016), aff’d 872 F.3d 393 (6th Cir. 2017)

 (same); Roe v. Adams-Gaston, S.D.Ohio No. 2:17-cv-945, 2018 U.S. Dist. LEXIS 185697 (Apr. 17, 2018)

 (same).

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 C.      The Plaintiff Has A Substantial Likelihood of Success.

         This Court has granted Plaintiff’s Motion for Partial Summary Judgment on a portion of his

 breach of contract. (See Doc#117, PagedID#3318.)

 D.      Irreparable Harm

         The accompanying Affidavit of John Doe describes the irreparable harm Plaintiff will suffer

 if a temporary restraining order and preliminary injunction are not granted. The imposition of

 discipline by Rollins would deny Plaintiff the benefits of education at his chosen school, would damage

 his academic and professional reputation, and may affect his ability to enroll at other institutions of

 higher education and to pursue a career. This has been found to constitute irreparable harm. In Doe

 v. Univ. of Cincinnati, the Sixth Circuit observed that a suspended student would “suffer reputational

 harm both on and off campus based on a finding rendered after an unfair hearing.” 872 F.3d 393 at

 *29. The Fifth Circuit in Plummer observed that sanctions imposed by a university could have a

 “substantial lasting impact on [students’] personal lives, educational and employment opportunities,

 and reputations in the community.” 860 F.3d at 773, citing Doe v. Cummins, 662 F. App'x 437, 446 (6th

 Cir. 2016). Another court observes that this satisfies the irreparable harm prong of the preliminary

 injunction inquiry:

         The court concludes plaintiff has also demonstrated that he will suffer irreparable
         harm if the injunction is denied. The loss of educational and career opportunities he
         will encounter if not reinstated and allowed to graduate is not readily compensable in
         money damages.

 Ritter, 2016 U.S. Dist. LEXIS 60193, at *8.

         In the event Defendant attempts to argue that Plaintiff’s claims can be fully compensated with

 money damages, this clam has been rejected by other courts. See Doe v. Univ. of Michigan, 325 F. Supp.

 3d at 829 (“Money damages cannot compensate Plaintiff for the reputational harm he has already

 suffered and will continue to suffer as a consequence of sexual assault allegations.”).



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 E.      Harm to Third Parties and Public Interest

         An injunction will not cause any harm to third parties or Defendant. Defendant remains able

 to enforce its rules and regulations in a manner consistent with its policies and student handbook. On

 the other hand, the failure to grant an injunction would harm the public because it would permit

 Defendant to ignore its policies with respect to all current and future students on an ongoing basis

 while this case is resolved, which necessarily would cause substantial, irreparable harm to those

 students. Enforcement of contracts is in the public interest, generally – but more so when there is a

 disparity in power and resources between students and an educational institution. See Talk Fusion, Inc.

 v. Ulrich, M.D.Fla. No. 8:11-CV-1134, 2011 U.S. Dist. LEXIS 74549, at *16 (June 21, 2011) (“a

 preliminary injunction would affirmatively serve the public interest by… upholding the terms of

 enforceable contracts”); Internatl. Hair & Beauty Sys., LLC v. Simply Organic, Inc., M.D.Fla. No. 8:11-cv-

 1883, 2011 U.S. Dist. LEXIS 127336, at *29 (Sep. 26, 2011) (“a preliminary injunction would

 affirmatively serve the public interest by preserving faith in the contractual agreements that businesses

 routinely make with their employees [and] by upholding the terms of enforceable contracts…”); TRO.

 Variable Annuity Life Ins. Co. v. Antoniadis, M.D.Fla. No. 8:12-cv-1980, 2012 U.S. Dist. LEXIS 124200,

 at *3 (Aug. 31, 2012) (same).

 F.      Nominal Bond Should Be Imposed

         Federal R. Civ. P. 65(C) provides that “The court may issue a preliminary injunction . . . only

 if the movant gives security in an amount that the court considers proper to pay the costs and damages

 sustained by any party found to have been wrongfully enjoined or restrained.” Defendant is an

 educational institution. Accordingly, because money is not an issue for Defendants and the school is

 not likely to suffer any potential losses if an injunction is granted, this Court should set surety in the

 nominal amount of $1. See Doe v. Cincinnati. 223 F. Supp. 3d 704 (“The Court sets a bond in the

 nominal amount of $1.”). See also Ponce v. Socorro Indep. Sch. Dist., 432 F. Supp. 2d 682, 707 (W.D. Tex.

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 2006) (setting a nominal bond of one hundred dollars because the evidence indicates that Defendant

 will suffer little, if any, damage by the issuance of the preliminary injunction), rev’d on other grounds 508

 F.3d 765 (5th Cir. 2007).

                                             CONCLUSION

         This Court should issue a Preliminary Injunction prohibiting Defendant from imposing and

 reporting any disciplinary sanctions against Plaintiff related to the alleged sexual misconduct described

 in this Complaint pending the completion of trial and the consideration of permanent injunctive relief.



                                                           Respectfully submitted,

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                                    CERTIFICATE OF SERVICE
 This certifies that the foregoing was filed electronically on April 1, 2020. Notice of this filing will be
 sent to all parties by operation of the Court’s electronic filing system.


                                                           ____/s/ Joshua Engel ______
                                                           Joshua Adam Engel (Ohio No. 0075769)
                                                           (pro hac vice)
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                                 CERTIFICATION OF COUNSEL
         Pursuant to Local Rule 3.01(g), this is a motion for injunctive relief and, therefore, counsel is
 not required before filing this Motion to confer with counsel for the opposing party in a good faith
 by email in an effort to resolve the issues raised by the motion and obtain the relief sought without
 court action.
                                                         ____/s/ Joshua Engel ______
                                                         Joshua Adam Engel (Ohio No. 0075769)
                                                         (pro hac vice)




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